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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PEOPLE OF THE STATE OF ILLINOIS                   )
ex rel. KWAME RAOUL, Attorney General             )
of the State of Illinois,                         )
                                                  )
               Plaintiff,                         )
                                                  )          No. 18-cv-02861
       v.                                         )
                                                  )          Judge Andrea R. Wood
SUBURBAN EXPRESS INC., et al.,                    )
                                                  )
               Defendants.                        )

                                              ORDER

        Pursuant to Fed. R. Civ. P. 25(d), the Clerk is directed to substitute Kwame Raoul,
Attorney General of the State of Illinois, as Plaintiff in place of Lisa Madigan. Plaintiff’s motion
to enforce consent decree [99] is denied. Furthermore, the additional miscellaneous relief
requested in Plaintiff’s response to Defendant Toeppen’s May 7, 2019 filing and motion for
miscellaneous relief [117] is denied in light of the discussions on the record at the court hearings
on 5/23/2029, 8/27/2019, 10/3/2019, and 11/21/2019. In addition, for docket administration
purposes, Plaintiff’s motions for leave to file documents under seal, [102] and [108], are granted.
See the accompanying Statement for details.

                                          STATEMENT

         The Attorney General of the State of Illinois, Kwame Raoul, on behalf of the People of the
State of Illinois (“OAG”), initiated this lawsuit against Defendants Suburban Express Inc.
(“Suburban Express”), Allerton Charter Coach, Inc. (“Allerton Charter”), and Dennis Toeppen,
alleging violations of federal and state law, including the Civil Rights Act of 1866, 42 U.S.C.
§ 1981 et seq., and the Illinois Human Rights Act, 775 ILCS 5/1 et seq. Toeppen was the owner of
two bus companies, Suburban Express and Allerton Charter, that provided transportation between
the Chicago area and certain college towns, including Urbana-Champaign, Illinois. The OAG
alleged that Defendants discriminated against customers on the basis of their race, ethnicity, and
religion. It further alleged that Toeppen engaged in a campaign of online harassment and
retaliation against customers that gave the bus companies negative reviews or otherwise criticized
them. After months of negotiations, the parties ultimately agreed to a consent decree that this
Court entered on April 9, 2019. (Dkt. No. 95.) The OAG now seeks to hold Defendants
accountable for multiple alleged violations of the consent decree. (Dkt. No. 99.)
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                                                I.

        In its original motion, the OAG pointed to the following actions taken by Defendants,
specifically Toeppen, that the OAG claims violated the consent decree.

       First, the OAG contends that Toeppen violated the consent decree’s prohibition against
penalizing customers based solely on their online comments immediately after its entry when he
posted a webpage that attacked a customer who made negative comments online about Suburban
Express. The webpage showed an address of the customer’s childhood home and questioned the
person’s mental health.

        Second, the OAG claims that Toeppen violated the requirement in the consent decree that
Defendants not engage in communications that they “know are to the effect that their services will
be denied to any person or that any person is unwelcome, objectionable, or unacceptable because
of race, national origin, or religion.” (Consent Decree ¶ 4(a)(iii).) Specifically, in the same
website described above, Toeppen attacked an individual of Asian origin and compared the
individual to a prominent Asian-American activist.

        Third, the OAG stated that Toeppen failed to abide by the consent decree’s requirement
that he post anti-discrimination policies on the main page of any website associated with his bus
companies. Shortly after the OAG filed its motion, Toeppen posted the required anti-
discrimination policies on Suburban Express’s website but that language was preceded by his own
statement that “Suburban Express is required to display the below paragraph as a result of a recent
agreement with hypocritical extortionist Illinois politician Kwame Raoul.”

         After this Court ordered Defendants to come into compliance with the consent decree by
April 24, 2019, Toeppen removed several of the offending webpages and commentary along with
the disparaging introduction to the anti-discrimination language. Nonetheless, the OAG submitted
a supplemental filing in support of its motion providing additional evidence that Defendants were
continuing to violate the requirements of the consent decree. The OAG pointed to Toeppen’s
statement to a reporter that the OAG’s “lawsuit had a great deal of MSG sprinkled on it.” Given
that the present lawsuit predominantly focused on Defendants’ discrimination against individuals
of Asian ethnicity and national origin, the OAG claimed that Toeppen made an objectionable
statement by referencing MSG—a seasoning often used in Asian foods. In addition, the OAG
contended that Toeppen reposted old websites that attacked customers, including one that called
an individual “a pushy little Chinese engineering student with a fragile ego.” And although
Toeppen claimed he had posted anti-discrimination language on Suburban Express and Allerton
Charter’s websites, the OAG claimed the website for Allerton Charter simply stated that “[t]his
website no longer exists,” even though Toeppen had not actually removed the website. The OAG
asserted that so long as Toeppen maintained a website at the listed address, he must post anti-
discrimination policy language on the page. Finally, the OAG accused Toeppen of making
misrepresentations to this Court when he claimed that he was unable to undertake compliance
activities between April 1 and April 6, 2019 because he was traveling, yet his travel did not
prevent Toeppen from engaging in online commentary concerning the consent decree and the
OAG’s press release announcing it.




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        Following the OAG’s supplemental filing, Toeppen submitted a response in which he
disputed that he maintained any “attack” pages, characterizing them instead as “response” pages.
He further claimed that the pages were not penalizing any critics but instead called out individuals
that he believed had “cheated” the company. As to the “pushy little Chinese engineering student”
comment, Toeppen claimed that the use of the word “Chinese” was accidentally left unredacted
and he had since corrected the error. Further, Toeppen claimed that he posted anti-discrimination
policies on all websites that Defendants host but insisted that he was not required to post such
language on websites that are inactive or no longer exist.

       Shortly thereafter, Toeppen submitted another filing to advise the Court that both
Suburban Express and Allerton Charter were ceasing operations and their websites would be
taken down. Consequently, he expressed his belief that the consent decree was now largely moot.
The OAG disagreed with Toeppen’s contention that the consent decree was moot, however.
Instead, the OAG asserted that Toeppen remained individually bound by the terms of the consent
decree for its entire three-year term. Moreover, it noted that Suburban Express and Allerton
Charter had not formally dissolved under Illinois law and even after they dissolved, they would
remain subject to the consent decree’s post-dissolution provisions. Thus, the OAG refused to
withdraw the present motion to enforce the consent decree.

                                                 II.

        The OAG has brought this motion to enforce the consent decree as a result of Defendants’
several violations of its provisions and seeks entry of a monetary judgment against Defendants in
the amount of $20,000. “A consent decree, while contractual in nature, is enforceable as a judicial
decree that is subject to the rules generally applicable to other judgments and decrees.” United
States v. Krilich, 303 F.3d 784, 789 (7th Cir. 2002). Nonetheless, “[f]or purposes of enforcement,
the Supreme Court has held that consent decrees must be construed basically as contracts.” Int’l
Bus. Machs. Corp. v. Comdisco, Inc., 834 F. Supp. 264, 266 (N.D. Ill. 1993) (citing United States
v. ITT Cont’l Baking Co., 420 U.S. 223, 237 (1975)). Thus, where a decree is unambiguous, “the
scope of a consent decree must be discerned with its four corners, and not by reference to what
might satisfy the purposes of one of the parties to it.” Goluba v. Sch. Dist. of Ripon, 45 F.3d 1035,
1038 (7th Cir. 1995).

       Normally, a consent decree is enforced by contempt sanctions. Kasper v. Bd. of Election
Comm’rs of the City of Chi., 814 F.2d 332, 338 (7th Cir. 1987). Here, however, the consent decree
contains a provision regarding enforcement. That provision outlines the procedures for
enforcement, providing:

       If OAG believes that any Defendant has failed to comply with any provision of this
       consent decree, OAG shall notify Defendants of the alleged noncompliance in
       writing and shall afford the non-complying Defendant 30 days to remedy the
       noncompliance or to satisfy OAG that the alleged noncomplying Defendant has
       complied. If OAG and Defendants do not reach agreement at the end of the 30-day
       period, OAG may apply to the Court for appropriate relief.




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(Consent Decree ¶ 8.) It further lists the remedies that the OAG may seek, including entry of a
monetary judgment or injunctive relief. Thus, for any violation, the consent decree requires the
OAG to provide Defendants 30 days to fix the issue and only after the expiration of that period
may the OAG seek appropriate relief from this Court. Yet the OAG filed the present motion to
enforce the consent decree just eight days after it was entered.

         In interpreting a consent decree, “the enforcing court will look to the plain language of the
written agreement as the best expression of the parties’ intent.” United States v. City of Northlake,
Ill., 942 F.2d 1164, 1167 (7th Cir. 1991). Here, the Court finds nothing ambiguous about the
enforcement procedures outlined in the consent decree. That language reflecting “a compromise
between competing and discordant aspirations . . . should be enforced as written.” Autotech Techs.
Ltd. P’ship v. Automationdirect.Com, Inc., No. 05 C 5488, 2006 WL 1304949, at *8 (N.D. Ill.
May 10, 2006). Thus, the Court believes that Defendants should have been afforded the 30-day
notice period to cure their violations before the OAG brought the present motion to enforce—
particularly with respect to the initial purported violations.

        Of course, the 30-day remedial period is an awkward fit for some of the issues of which
the OAG complains here. In particular, Toeppen’s comment to the reporter about how the OAG’s
lawsuit had some “MSG sprinkled on it” was published and cannot be taken back. Yet the Court
is not convinced that the comment violated the consent decree’s prohibition against
communications conveying the impression that Defendants’ services would be unavailable to a
person based on discriminatory reasons. Toeppen’s comment was directed at the OAG and the
present lawsuit rather than the services he provided through Suburban Express and Allerton
Charter. That said, the Court certainly appreciates the racial implications of Toeppen’s comment.
Indeed, Toeppen’s explanation that his MSG reference was innocent and had no racial
connotation strains credulity. Toeppen’s reference to MSG, a seasoning closely linked with Asian
foods, when criticizing a lawsuit addressing discrimination against Asians was far too specific for
this Court to believe that it was not deliberate. And the Court can appreciate how a racial remark
made by the owner of a public accommodation might make some customers feel unwelcome.
Nonetheless, the Court believes that finding a violation for a remark that only indirectly concerns
Toeppen’s business risks impinging on Toeppen’s First Amendment rights. At the same time, the
racial and ethnic insensitivity Toeppen displayed in making this remark certainly demonstrates the
need for the consent decree’s requirement that he annually attend anti-discrimination training—a
requirement that Toeppen has desperately sought to avoid.

        Other purported violations resulting from Toeppen’s commentary were more amenable to
the cure period. Indeed, Toeppen’s attacks on customers were largely made on websites or other
fora over which Toeppen had control. Thus, the OAG could have notified Toeppen of the
comments that it believed violated the consent decree and given Toeppen the opportunity to
remove them. Yet while Toeppen did take down much of the offending commentary, at least one
of the pages, the “page of shame” remained up at the time of the Court’s most recent hearing.
Toeppen argues that since he has shut down Suburban Express and Allerton Charter, those pages
do not violate the consent decree because he has no customers to penalize or make feel
unwelcome. The Court finds Toeppen’s defense to be weak, but the OAG has not continued to
press this particular issue. Since the remedy period has long passed, the Court will entertain




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injunctive relief if the OAG seeks it. In the meantime, if he has not already, Toeppen would be
well-advised to address the issue on his own to avoid court intervention.

         Finally, the OAG accuses Toeppen of misrepresenting to this Court that his lack of
internet access during a time when he was traveling impaired his ability to undertake compliance
efforts, even though he was able to access the internet to comment on this lawsuit during his
travel. In open court, Toeppen clarified that his internet access was poor during his travel and
limited his ability to connect to the webserver for the companies’ various websites. This Court
finds Toeppen’s explanation plausible and declines to impose sanctions for any misrepresentation.

         The Court understands the OAG’s frustrations with Defendants. In the month after the
consent decree was entered, Defendants’ behavior, at best, can be described as testing the consent
decree’s boundaries. Moreover, Toeppen’s efforts at complying with the consent decree can
generously be described as begrudging. Toeppen has often attempted to evade or undermine his
obligations under the consent decree with bad faith arguments for highly technical interpretations
of its provisions. Toeppen apparently wants to make this matter go away without meaningfully
changing any of his conduct that led to the initiation of the lawsuit in the first place. But that is not
the result the OAG sought to accomplish when it agreed to settle the matter. And by voluntarily
entering into the consent decree, Toeppen obliged himself to fully abide by its terms. Despite
what he may believe, Toeppen faced no duress in entering into the consent decree. If he believed
Defendants’ conduct was acceptable, he was free to make his case to a jury. Instead, Toeppen
chose to settle. By settling, Toeppen agreed to certain obligations that he is required to fulfill. He
cannot evade those obligations by insisting upon nonsensical interpretations of the consent decree
that fit only his purposes. Rather, Toeppen must make a good faith effort at complying with each
requirement in the consent decree. See Gautreaux v. Pierce, 535 F. Supp. 423, 429 (N.D. Ill.
1982) (“[O]nce litigants enter into a consent decree approved by the Court, they are obligated to
make a good faith effort to abide by their court-approved commitments.”).

        For now, the Court finds that the OAG should have first followed the procedures laid out
in the consent decree’s enforcement provision before moving for enforcement. That is not to say,
however, that this Court does not have the power at this time, or at some point in the future, to
hold Defendants in contempt for violating the consent decree. In declining to sua sponte order
Defendants to show cause as to why they should not be held in contempt, the Court takes into
account the fact that the OAG has not reported any further violations since June 2019.
Nonetheless, the Court warns Toeppen that its patience has worn thin and admonishes him to
cease his resistance to complying with the consent decree.




Dated: March 16, 2020                                  __________________________
                                                       Andrea R. Wood
                                                       United States District Judge




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